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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

MAURICIO VELASCO CIFUENTES,

        Petitioner/Defendant,

v.                                                           CASE NO: 8:07-CV-517-T-30TBM
                                                             Crim. No: 8:05-cr-199-T-30TBM
UNITED STATES OF AMERICA,

      Respondent/Plaintiff.
____________________________________/

                                              ORDER
        THIS CAUSE comes before the Court sua sponte. A review of the file indicates that

Petitioner/Defendant has failed to respond to the Order to Show Cause (CV Dkt. #5) entered on

April 24, 2007, which directed the Petitioner/Defendant to show good cause, in writing, within

30 days as to why his §2255 motion should not be stricken for being time-barred. No response

has been filed with the Court. Accordingly, it is

        ORDERED AND ADJUDGED that:

        1.       Petitioner/Defendant’s Motion to Vacate, Set Aside or Correct Sentence (CV Dkt.

#1 and CR Dkt. #113) is DISMISSED because it is time barred as explained in this Court’s Order

(Dkt. #5) entered on April 24, 2007.

        2.       Any pending motions are denied as moot.

        3.       The Clerk is directed to close this file.

        DONE and ORDERED in Tampa, Florida on June 11, 2007.




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Counsel/Parties of Record

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